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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 EURO PACIFIC CAPITAL INC., et al.
                                                            Case No. 15-cv-00359 (VSB)
                                   Plaintiffs,

                  -against-

 YAYI INTERNATIONAL INC.,

                                   Defendant.

                                      NOTICE OF APPEARANCE

To the Clerk of this Court and all parties of record:

         PLEASE TAKE NOTICE that Sherli Furst of Robins Kaplan LLP, with offices located at 399

Park Avenue, New York, New York 10022, hereby appears as counsel for Plaintiffs Euro Pacific Capital

Inc. and Peter D. Schiff, and requests that copies of all future pleadings, filings, notices, correspondences,

and other papers in the above-captioned matter be copied to and served to the undersigned counsel at the

address indicated herein.



Dated: January 19, 2018                            Respectfully submitted,

                                                   /s/ Sherli Furst___       ________

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                                                   Peter D. Schiff
